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     In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                           No. 15-1387V
                                       Filed: April 24, 2017

* * * * * * * * * * *                      *   *       Special Master Sanders
LORALYN WEBB, as the Personal                  *
Representative of the Estate of                *       Attorneys’ Fees and Costs; Reasonable
CHANDLER BLAKE WEBB,                           *       Amount Requested.
                      Petitioner,              *
                                               *
v.                                             *
                                               *
SECRETARY OF HEALTH                            *
AND HUMAN SERVICES,                            *
                                               *
                         Respondent.           *
*    * *    *   *   *    * * * *       *   *   *

Robert J. Krakow, Law Office of Robert J. Krakow, P.C., New York, NY, for Petitioner.
Sarah C. Duncan, United States Department of Justice, Washington, DC, for Respondent.

                        DECISION ON ATTORNEYS’ FEES AND COSTS1

        On November 16, 2015, Loralyn Webb (“Petitioner”), on behalf of Chandler Blake Webb
(Mr. Webb), deceased, petitioned for compensation under the National Childhood Vaccine Injury
Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (2012).2 Petitioner alleged that the administration of
an influenza (“flu”) vaccine administered on October 15, 2013, caused Mr. Webb to suffer
encephalitis. Petition, filed Nov. 16, 2015. Petitioner further alleged that Mr. Webb’s death was
a sequela of his encephalitis. Id. On January 31, 2017, the undersigned issued a decision
awarding compensation to Petitioner pursuant to the parties’ joint stipulation. Decision, ECF

1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42
U.S.C. § 300aa of the Act.
                                                   1
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No. 47.

         On April 4, 2017, Petitioner filed an application for attorneys’ fees and costs. Petitioner
requested attorneys’ fees in the amount of $60,425.75. See Pet’r’s Mot. Att’ys’ Fees and Costs,
ECF No. 52. Petitioner requested attorneys’ costs in the amount of $1,721.36, and also requested
costs personally incurred in the course of this litigation in the amount of $360.00. Id.
Respondent indicated that “[t]o the extent the Special Master is treating [P]etitioner’s request for
attorneys’ fees and costs as a motion that requires a response from [R]espondent . . . Respondent
is satisfied the statutory requirements for an award of attorneys’ fees and costs are met in this
case.” Resp’t’s Resp. at 2 (Apr. 21, 2017), ECF No. 54. Respondent recommended that the
undersigned exercise her discretion and determine a reasonable award for attorneys’ fees and
costs. Id. at 3. Petitioner filed a reply shortly thereafter agreeing with Respondent’s
recommendation that the undersigned exercise her discretion. Pet’r’s Reply (Apr. 21, 2017),
ECF No. 55.

       The undersigned has reviewed Petitioner’s counsel’s detailed records of time and
expenses incurred in this case, and they are reasonable. In accordance with the Vaccine Act, 42
U.S.C. § 300aa-15(e) (2012), the undersigned finds that Petitioner is entitled to attorneys’ fees
and costs. Accordingly, the undersigned hereby awards the amount of $62,147.11,3 in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Robert J.
Krakow., of Law Office of Robert J. Krakow, P.C.; and the amount of $360.00, in the form
of a check made payable to Petitioner only. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court shall enter judgment in accordance
herewith.4

          IT IS SO ORDERED.

                                              s/Herbrina D. Sanders
                                              Herbrina D. Sanders
                                              Special Master




3
  This amount is intended to cover all legal expenses incurred in this matter. This award
encompasses all charges by the attorney against a client, “advanced costs” as well as fees for
legal services rendered. Furthermore, § 15(e)(3) prevents an attorney from charging or
collecting fees (including costs) that would be in addition to the amount awarded herein. See
generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir. 1991).
4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to
seek review. Vaccine Rule 11(a).
                                                 2
